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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE: PHILIPS RECALLED CPAP, BI-          Master Docket: Misc. No. 21-mc-1230-JFC
 LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS                        MDL No. 3014
 LITIGATION

 This Document Relates to: All Actions
 Asserting Claims for Medical Monitoring
 Economic


           NOTICE OF FILING OF DOCUMENTS IN FURTHER SUPPORT
             OF THE MOTION FOR PRELIMINARY APPROVAL OF
            SETTLEMENT OF THE MEDICAL MONITORING CLAIMS

       Based upon the discussion at the May 9, 2024 Status Conference, Proposed Settlement

Class Representatives, through Plaintiffs’ Co-Lead Counsel and proposed Settlement Class

Counsel, hereby file two documents in further support of their Unopposed Motion for Preliminary

Approval of Class Settlement Agreement and Release of Medical Monitoring Claims and to Direct

Notice to the Proposed Settlement Class (ECF 2766): (1) an amended proposed Notice which

would replace the Notice attached as Exhibit 4 to the Settlement Agreement (ECF 2767-1) and

attached as Exhibit 3 to the Declaration of Orran L. Brown Sr. of BrownGreer PLC on Proposed

Notice Plan (ECF 2767-3); and (2) a Declaration of Jason Wolf of Wolf Global Compliance re:

Medical Advancement Program who is proposed as the Settlement Administrator.

Dated: May 10, 2024                              Respectfully submitted,


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           Chair Settlement Committee / Proposed Settlement Class Counsel

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